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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                 )    Criminal No. 22-76(1) (KMM/TNL)
                                          )
        v.                 Plaintiff,     )
                                          )    DEFENDANT’S MOTION TO
SHEVIRIO KAVIRION CHILDS-                 )    SUPPRESS EVIDENCE OBTAINED
YOUNG,                                    )    AS A RESULT OF SEARCH AND
                                          )    SEIZURE
                         Defendant.       )


       The defendant, Shevirio Kavirion Childs-Young, by and through his attorneys,

Manny K. Atwal and Douglas L. Micko, respectfully moves the Court pursuant to Rule 12,

Federal Rules of Criminal Procedure, to suppress any physical evidence obtained as a result

of a search and seizure from October 4, 2021 warrant to search residence located at 35XX 6th

Street North in Minneapolis on the following grounds. The warrant to search this residence

was lacking in probable cause, and not executed in good faith. Additionally, officers

exceeded the scope of the warrant’s authorization in its execution.

       That this motion is based on the indictment, the records and files in the above-

entitled action, and any and all other matters which may be presented prior to or at the time

of the hearing of said motion.
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Dated: October 3, 2022                   Respectfully submitted,

                                         s/ Manny K. Atwal
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